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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                        Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                           Section H
                                                     Judge Jane Triche Milazzo
        Plaintiffs,
                                                     Division 1
 v.                                                  Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

        Defendants.


                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants Leon Cannizzaro, in his individual capacity and

in his official capacity as District Attorney of Orleans Parish; Graymond Martin; David Pipes; Iain

Dover; Jason Napoli; Arthur Mitchell; Tiffany Tucker; Michael Trummel; Matthew Hamilton;

Inga Petrovich; Laura Rodrigue; and Sarah Dawkins hereby appeal to the United States Court of

Appeals for the Fifth Circuit from the February 28, 2019 Order and Reasons (Doc. No. 116)

denying in part the Joint Motion to Dismiss (Doc. No. 63).




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      Respectfully submitted,


 /s/ Robert L. Freeman, Jr.                 /s/ Matthew J. Paul
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                                           Trummel; Matthew Hamilton; Inga
Counsel for Leon Cannizzaro (in his        Petrovich; Laura Rodrigue; and Sarah
official capacity as Orleans Parish        Dawkins
District Attorney)




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